                IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF IOWA
                          WESTERN DIVISION

UNITED STATES OF AMERICA,
            Plaintiff,                              No. 09-CR-4045-DEO
vs.                                         ORDER
                                    ACCEPTING REPORT AND
CARL BINNEBOESE,
                                 RECOMMENDATION CONCERNING
         Defendant.                      GUILTY PLEA
                    ____________________

                   I.    INTRODUCTION AND BACKGROUND

      On   March   25,    2010,    a     one       count    Second     Superseding

Indictment      (Docket    No.    210)    was       returned     in    the   above-

referenced case.

      Count 1 of the Second Superseding Indictment charges that

beginning in about January 2007, and continuing through August

2009, in the Northern District of Iowa and elsewhere, co-

defendants and defendant Carl Binneboese did knowingly and

unlawfully combine, conspire, confederate, and agree with each

other and with other persons, and known and unknown to the

Grand Jury,

      1.   to manufacture 500 grams or more of a mixture or

           substance       containing          a      detectable       amount        of

           methamphetamine, a Schedule II controlled substance,

           or      50     grams     or         more        of   actual       (pure)



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            methamphetamine, a Schedule II controlled substance,

            in   violation     of   Title       21,     United     States       Code,

            Sections 841(a)(1), 841(b)(1)(A), and;

    2.      to manufacture 50 grams or more of a mixture or

            substance    containing         a     detectable           amount        of

            methamphetamine, a Schedule II controlled substance,

            or 5 grams or more of actual (pure) methamphetamine,

            a Schedule II controlled substance, in violation of

            Title 21, United States Code, Sections 841(a)(1) and

            841(b)(1)(B), 851, and

    This was in violation of Title 21, United States Code,

Section 846.

    On August 30, 2010, defendant Carl Binneboese appeared

before Chief United States Magistrate Judge Paul A. Zoss and

entered a plea of guilty to Count 1 of the Second Superseding

Indictment. In the Report and Recommendation (Docket No. 476,

08/30/2010), Chief United States Magistrate Judge Paul A. Zoss

recommends that defendant Carl Binneboese’s guilty plea be

accepted.        No   objections     to     Judge         Zoss’s       Report     and

Recommendation were filed.          The Court, therefore, undertakes

the necessary review to accept defendant Carl Binneboese’s


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plea in this case.

                               II.   ANALYSIS

                      A.   Standard of Review

    Pursuant to statue, this Court’s standard of review for

a magistrate judge’s Report and Recommendation is as follows:

          A judge of the court shall make a de novo
          determination of those portions of the
          report or specified proposed findings or
          recommendations to which objection is made.
          A judge of the court may accept, reject, or
          modify, in whole or in part, the findings
          or recommendations made by the magistrate
          [judge].

28 U.S.C. § 636(b)(1).           Similarly, Federal Rule of Civil

Procedure 72(b) provides for review of a magistrate judge’s

Report and Recommendation on dispositive motions and prisoner

petitions, where objections are made as follows:

          The district judge to whom the case is
          assigned shall make a de novo determination
          upon the record, or after additional
          evidence, of any portion of the magistrate
          judge’s disposition to which specific
          written   objection   has   been   made  in
          accordance with this rule.     The district
          judge may accept, reject, or modify the
          recommendation decision, receive further
          evidence, or recommit the matter to the
          magistrate judge with instructions.

FED. R. CIV. P. 72(b).

    In this case, no objections have been filed, and it

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appears to the Court upon review of Chief Magistrate Judge

Zoss’s findings and conclusions that there are no grounds to

reject or modify them.

    IT IS THEREFORE HEREBY ORDERED that this Court accepts

Chief   Magistrate    Judge    Zoss’s   Report     and   Recommendation

(Docket No. 476), and accepts defendant Carl Binneboese’s plea

of guilty in this case to Count 1 of the Second Superseding

Indictment filed on March 25, 2010, (Docket No. 210).

    IT IS SO ORDERED this 30th day of November, 2010.


                                 __________________________________
                                 Donald E. O’Brien, Senior Judge
                                 United States District Court
                                 Northern District of Iowa




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